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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION                         CASE NO. 6:15-CV-230 RWS-JDL
 SYSTEMS, LLC,

                Plaintiff,
                                                           JURY TRIAL DEMANDED
        v.

 USTREAM, INC.,

                Defendant.



                                JOINT MOTION TO DISMISS

        Plaintiff Rothschild Broadcast Distribution Systems, LLC and Defendant Ustream, Inc.,

 pursuant to Fed. R. Civ. P. 41, move for an order DISMISSING WITH PREJUDICE all claims

 asserted against Ustream, Inc. in this action, with each party to bear its own costs, expenses and

 attorneys’ fees.




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 Respectfully submitted,


 /s/ Charles Ainsworth                          /s/ Jennifer H. Doan (with permission)
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                                                ATTORNEYS FOR DEFENDANT
                                                USTREAM, INC.




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served with a copy of this document via the Court’s
 CM/ECF system per Local Rule CV-5(a)(3) on September 2, 2015.

                                                      /s/ Charles Ainsworth
                                                      Charles Ainsworth




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